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United States Attorney
District of Maryland
Southern Division

 

 

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November 6, 2020

Alfred Guillaume II, Esq.
6305 Ivy Ln.

Suite 700

Greenbelt, MD 20770

Re: United States v. Kevin Alexis Rodriguez-Flores,
Criminal No. PX 20-229

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, Kevin Alexis Rodriguez-Flores (hereinafter
“Defendant”), by the United States Attorney’s Office for the District of Maryland (“this Office”).
If the Defendant accepts this offer, please have the Defendant execute it in the spaces provided
below. This plea agreement is entered into and will be submitted to the Court pursuant. to

Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure. Ifthis offer has not been accepted

by November 19, 2020, it will be deemed withdrawn. The terms of the Agreement are as follows:
Offenses of Conviction

1. The Defendant agrees to plead guilty to the Superseding Indictment charging him
in Count One with Conspiracy to Participate in a Racketeering Enterprise (“RICO Conspiracy”)
in violation of 18 U.S.C. § 1962(d) and in Count Two with Conspiracy to Destroy and Conceal
Evidence in violation of 18 U.S.C. § 1512(k). The Defendant admits that the Defendant is, in fact,
guilty of these offenses and will so advise the Court.

Elements of the Offenses

2. The elements of the offenses to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are that on or about time alleged in the
Superseding Indictment, in the District of Maryland and elsewhere:

a. Count One (RICO Conspiracy): (a) an Enterprise, MS-13, existed,
consisting of a group of persons associated together for a common purpose of engaging in a course
of conduct; (b) the Enterprise engaged in, or its activities in some way affected, interstate or foreign
commerce; (c) the Defendant was associated with the Enterprise; (d) the Defendant knowingly and
intentionally entered into an agreement that a conspirator would conduct, or participate in the

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conduct of, the affairs of the Enterprise through a pattern of racketeering activity; and (e) the
Defendant agreed a conspirator would commit at least two acts of racketeering in the conduct of
the affairs of the Enterprise.

b. Cuunt Two (Conspiracy to Destroy and Conceal Evidence): (1) two or more
persons entered into the unlawful agreement charged in the Superseding Indictment; and (2) the
Defendant knowingly and willfully became a member of the conspiracy.

 

 

 

 

 

 

 

 

 

 

 

 

 

Penalties
3. The maximum penalty provided by statute for the offenses to which the Defendant
is pleading guilty are as follows:
Count Statute Minimum Maximum Supervised Maximum Special
Prison Prison Release Fine Assessment
18 U.S.C. .
| § 1962(d) N/A Life 5 years $250,000 $100
18 U.S.C.
2 § 1512(k) N/A 20 Years 3 Years $250,000 $100
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons

has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

G Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

€. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant

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agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the NDefendant’s federal and state income tax returns, The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the vuluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4, The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

C. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

d. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights,

except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant

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may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and
28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

Count One

a. Pursuant to United States Sentencing Guidelines (“U.S.S.G.”)
§ 2E1.1(a)(2), the base offense level is the offense level applicable to the underlying racketeering
activity. The Defendant is pleading guilty to RICO Conspiracy that includes first-degree murder.
Under U.S.S.G. § 2A1.1(a), the base offense level for first-degree murder is 43.

b. A 2-level enhancement applies, pursuant to U.S.C.G. § 3C1.1, because the

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Defendant attempted to obstruct the investigation of the offense charged in Count One, which
included the murder of Victim-1 as described in Attachment A.

Count Two

Gs This Office and the Defendant agree that the applicable base offense level
for Count Two is 30, pursuant to U.S.S.G. §§ 2J1.2, 2X3.1(a)(3)(A), 2E1.3, and 2A1.1, because
the Defendant endeavored to obstruct the prosecution of crimes involving the murder of Victim-
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Grouping

d. Counts One and Two group, pursuant to U.S.S.G. §§3D1.2(c) and 3C1.1,
Application Note 8. In accordance with U.S.S.G.§ 3D1.3(a), the offense level for the group is the
highest offense level for the counts in the group. The highest offense level for Counts One and
Two is 45.

¢. This Office does not oppose a 2-level reduction in the Defendant’s offense
level pursuant to U.S.S.G. § 3E1.1(a) based upon the Defendant’s apparent prompt recognition
and affirmative acceptance of personal responsibility for the Defendant’s criminal conduct. This
Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional 1-level decrease
in recognition of the Defendant’s timely notification of the Defendant’s intention to enter a plea
of guilty. This Office may oppose any adjustment for acceptance of responsibility under U.S.S.G.
§ 3E1.1(a), and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if the Defendant:
(i) fails to admit each and every item in the factual stipulation; (ti) denies involvement in the
offense; (iii) gives conflicting statements about the Defendant’s involvement in the offense; (iv) is
untruthful with the Court, this Office, or the United States Probation Office; (v) obstructs or
attempts to obstruct justice prior to sentencing; (vi) engages in any criminal conduct between the
date of this Agreement and the date of sentencing; (vii) attempts to withdraw the plea of guilty; or
(vill) violates this Agreement in any way.

1s There is no agreement as to the Defendant’s criminal history. The Defendant
further understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11 (c)(1)(C) Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a sentence within the range of 360 months of imprisonment to life

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imprisonment is the appropriate disposition of this case taking into consideration the nature and
circumstances of the offense, the Defendant’s criminal history, and all of the other factors set forth
in 18 U.S.C. § 3553(a). This Agreement does not affect the Court’s discretion to impose any
lawful term of supervised release or fine or to set any lawful conditions of probation or supervised
release. In the event that the Court rejects this Agreement, except under the circumstances noted
below, either party may elect to declare the Agreement null and void. Should the Defendant so
elect, the Defendant will be afforded the opportunity to withdraw his plea pursuant to the
provisions of Federal Rule of Criminal Procedure 11(c)(5). The parties agree that if the Court
finds that the Defendant engaged in obstructive or unlawful behavior and/or failed to acknowledge
personal responsibility as set forth herein, neither the Court nor the Government will be bound by
the specific sentence contained in this Agreement, and the Defendant will not be able to withdraw
his plea.

Obligations of the Parties

10. At the time of sentencing, this Office and the Defendant will jointly request that the
Court impose a sentence within the range of 360 months of imprisonment to life imprisonment.
At the time of sentencing, this Office and the Defendant reserve the right to advocate for a
reasonable period of supervised release and/or fine. This Office and the Defendant reserve the
right to bring to the Court’s attention all information with respect to the Defendant’s background,
character, and conduct that this Office or the Defendant deem relevant to sentencing, including the
conduct that is the subject of any counts of the Indictment. At the time of sentencing, this Office
will move to dismiss any open counts against the Defendant.

Waiver of Appeal

11. In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statutes to which the Defendant is pleading guilty is unconstitutional, or on the ground that
the admitted conduct does not fall within the scope of the statutes, to the extent that such challenges
legally can be waived.

b. If the Court imposes a term of imprisonment within the agreed-upon range,
the Defendant and this Office knowingly and expressly waive all rights conferred by 18 U.S.C,
§ 3742 to appeal whatever sentence is imposed (including any term of imprisonment, fine, term of
supervised release, or order of restitution) for any reason (including the establishment of the
advisory sentencing guidelines range, the determination of the Defendant’s criminal history, the
weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release).

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C. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Detendant’s Conduct Prior to Sentencing and Breach

12. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

13. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Entire Agreement

14, This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

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If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Robert K. Hur
United States Attorney

Webbe O. Vhoorwar

William D. Moomau
Erin B. Pulice
Assistant United States Attorneys

I have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

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|-I-Al
Date Kevin-Aefis Rodriguez-Flores

 

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

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Date Adfred Guilletime HI, Esq.

 

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ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that If this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

The MS-13 Gang

La Mara Salvatrucha, a/k/a the MS-13 gang (“MS-13”), is a gang composed primarily of
immigrants or descendants of immigrants from El Salvador, and other Central American countries,
with members operating in the State of Maryland, the State of Virginia, and throughout the United
States. In the United States, MS-13 has been functioning since at least the 1980s. MS-13 actively
recruited members, including juveniles, from communities with a large number of immigrants
from El Salvador and other Central American countries.

At all relevant times, members of MS-13 from time to time signified their membership by
wearing tattoos reading “MARA SALVATRUCHA,” “MS,” “MS-13,” or similar tattoos, often
written in gothic lettering. Members also signified their membership through tattoos of devil horns
in various places on their bodies. Members sometime avoid conspicuous MS-13 tattoos with
discreet ones such as “503,” spider webs, three dots in a triangle formation signifying “vida loca,”
or clown faces with phrases such as “laugh now, cry later.” Some MS-13 members have chosen
not to have tattoos at all, or to have them placed on areas such as the hairline where they can be
easily covered, in order to conceal their gang affiliation from law enforcement.

The gang colors of MS-13 were blue, black, and white, and members often wore clothing,
particularly sports jerseys, with the number “13” or with numbers that, when added together,
totaled 13, such as “76.” MS-13 members also wore blue and white clothing to represent their
membership, including blue and white shoes such as Nike “Cortez.” As with tattoos, some MS-13
members have selected more discreet ways of dressing in order to signify their membership and at
the same time avoid detection by law enforcement. MS-13 members referred to one another by
their gang names, or monikers, and often did not know fellow gang members except by their gang
names.

At all relevant times, members of MS-13 were expected to protect the name, reputation,
and status of the gang from rival gang members and other persons. MS-13 members required that
all individuals show respect and deference to the gang and its membership. To protect the gang
and to enhance its reputation, MS-13 members were expected to use any means necessary to force
respect from those who showed disrespect, including acts of intimidation and violence.

At all relevant times, members and associates of MS-13 frequently engaged in criminal
activity, including, but not limited to, acts involving murder, assault, extortion, distribution of
controlled substances, and intimidating and retaliating against witnesses and members suspected
of cooperating with law enforcement, as well as attempts and conspiracies to commit such

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offenses. MS-13 members were required to commit acts of violence both to maintain membership
and discipline within the gang and against rival gangs. Participation in criminal activity by a
member, particularly violent acts directed at rival gangs or as directed by the gang leadership,
increased the respect accorded to that member, resulted in that member maintaining or increasing
his position in the gang, and opened the door to a promotion to a leadership position. One of the
principal rules of MS-13 was that its members must attack and kill rivals whenever possible.
Rivals are often referred to as “chavalas.” The chief rival of MS-13 in the Washington D.C.
metropolitan area and world-wide was the 18th Street gang.

At all relevant times, prospective members who sought to join MS-13 were required to
prove that they were worthy of advancement by “putting in work” as directed by senior members.
“Work” can include acting as a lookout during crimes, selling controlled substances, attacking
chavalas and other persons deemed as threats, and other activities that advance gang objectives.
As far as membership ranks, individuals who did favors and other acts for the gang were called
“pyaros.” Persons being observed by the gang for potential advancement above the rank of paro
were known as “observations.” Individuals who had advanced to the final level before being
“jumped in” were called “chequeos,” or “cheqs.”' Chequeos underwent a probationary period
during which they were required to commit crimes on behalf of MS-13 to achieve trust and prove
their loyalty to the gang. To advance to the final rank of “homeboy,” members were required to
complete an initiation process, often referred to as being “jumped in” or “beat in” to the gang.
During that initiation, other members of MS-13 would beat the new member, usually until a gang
member finished counting aloud to the number thirteen, representing the “13” in MS-13.

MS-13 is an international criminal organization, and is organized in Maryland and
elsewhere into “cliques,” that is, smaller groups operating in a specific city or region. Cliques
operated under the umbrella rules of MS-13. MS-13 cliques often work together cooperatively to
engage in criminal activity and to assist one another in avoiding detection by law enforcement. In
Maryland and: the surrounding area, these cliques included Los Ghettos Criminales Salvatrucha
clique (LGCS/’Ghettos”), Sailors Locotes Salvatrucha Westside (“SLSW”), Parkview Locotes
Salvatrucha (“PVLS”), Pinos Locotes Salvatruchas (“PLS”), Fultons Locotes Salvatruchas
(“FLS”), and Normandie Locotes Salvatruchas (“NLS”), among others, Each clique was presided
over by the “First Word,” the leader or president of the clique. The leader was also referred to as
“Primero Palabra,” or “Shotcaller,” or “Corredor,” or “Runner.” Some cliques had a “Second
Word,” or “Segundo Palabra,” who was the second-in-command of the clique. General members
were required to take orders from the First Word or Runner and Second Word.

MS-13 had rules including that its members must attack chavalas whenever they had the
opportunity and to never cooperate with law enforcement. Violation of these rules subjected the
offending member to discipline. In the case of cooperating with law enforcement, the discipline
was death.

 

| The terms “MS-13 associate” or “associate of MS-13” are used broadly in this Statement of Facts
and include persons known as paros, observations, and chequeos. In addition, the names of the
titles for levels or ranks of membership are not all-inclusive, and are constantly changing within
MS-13.

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MS-13, including its leadership, members and associates, constituted an “enterprise” as
defined in Section 1959(b)(2) of Title 18, United States Code, that is, a group of individuals
associated in fact that engage in, and the activities of which affect, interstate and foreign
commerce. The enterprise constitutes an ongoing organization whosc members function as a
continuing unit tor the common purpose of achieving the objectives of the enterprise. The
purposes of the enterprise include the following:

l. Preserving and protecting the power, territory and profits of the enterprise through
the use of intimidation, violence, including assaults and murder, and threats of violence;

2. Promoting and enhancing the enterprise and its members’ and associates’ activities;

3, Keeping victims and potential victims in fear of the enterprise and in fear of its
members and associates, through violence and threats of violence;

4, Providing financial support to gang members, including those outside of the United
States.

In Maryland, Virginia, and elsewhere, MS-13, through its members and associates,
engaged in a pattern of racketeering activity as defined in Sections 1959(b) and 1961(1) of Title
18, United States Code, including, but not limited to, acts involving murder, extortion, and
distribution of controlled substances in violation of federal laws and the laws of the state of
Maryland.

From an unknown date in or about 2018 through April of 2019, the Defendant, KEVIN
ALEXIS RODRIGUEZ-FLORES (“RODRIGUEZ”), was a member and associate of MS-13.
In addition, RODRIGUEZ was a member and associate of the Enfermos Criminales Salvatruchas
clique of MS-13, but had been associating with members of the LGCS clique, including his co-
defendants after relocating to Virginia from New Jersey. During this same time period, prior to
the murder of Victim-1 as described below, and through his association with the LGCS clique of
MS-13, RODRIGUEZ and other members of the LGCS clique discussed committing racketeering
acts including killing suspected rival gang members.

From an unknown date in or about 2018 through April of 2019, RODRIGUEZ knowingly
and intentionally conspired with other members and associates of MS-13 to conduct and participate
directly and indirectly in the conduct of the affairs of the enterprise, that is, RODRIGUEZ agreed
with members and associates of the MS-13 gang to engage in a pattern of racketeering activity,
including murder, in order to further the interests of the enterprise. Furthermore, during this same
time period, MS-13 gang members in the District of Maryland and elsewhere engaged in said
racketeering acts.

Specifically, RODRIGUEZ, in furtherance of the racketeering conspiracy, participated in
the following acts in the District of Maryland:

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The Murder of Victim-1

On or about Friday, March 8, 2019, RODRIGUEZ, along with members of the LGCS
clique of MS-13, met at the house of the LGCS clique leader in Hyattsville, Maryland, A purpose
of this meeting was for the clique leader lo question Vietlm-1 about Victim-1*s recent vueounter
with the police. Victim-1 was also a member of the LGCS clique. During the interrogation of
Victim-1 by the clique leader, MS-13 members, including the clique leader, suspected that Victim-
| was cooperating with law enforcement. MS-13 gang members, including the clique leader
threatened and assaulted Victim-1. MS-13 gang members, including the clique leader, also used
knives to cut and stab Victim 1. The assault of Victim-1 began on the ground floor of the house,
and Victim- 1 was eventually taken into the basement of the residence. The clique leader ordered
that Victim-1 was to be killed, and MS-13 gang members, including RODRIGUEZ, stabbed
Victim 1 with knives until Victim-1 was dead. Victim- | died as a result of RODRIGUEZ’S and
the other gang member’s actions. According to the autopsy report, the cause of death was multiple
sharp force injuries, specifically “144 wounds: 68 stab wounds; 76 cutting wounds.” In the
victim’s neck area, the left internal jugular vein was “cut,” and his left carotid artery was
“transected.”

The Cover-Up

Acting upon orders from the clique leader, MS-13 members loaded the body of Victim-!
into a car, and three MS-13 members drove from Maryland to Virginia in order to dispose of
Victim I’s body. RODRIGUEZ and other MS-13 members stayed at the home of the LGCS
clique leader and attempted to remove and destroy evidence of the murder of Victim-1, including
cleaning up blood in the basement and removing blood stained carpet.

After the three MS-13 members returned from disposing of the body of Victim-1, co-
conspirators cleaned the car, particularly the trunk area, in an attempt to remove evidence of the
murder of Victim-l. RODRIGUEZ stayed at the residence of the clique leader until
approximately the afternoon hours of March 9, 2019, when he and other MS-13 members traveled
by Uber back to Virginia.

The purpose for removing, transporting, and burning of the body of Victim-1, and for
cleaning the locations within the home of the LGCS clique leader, and the vehicle used to transport
the body of Victim-1, was to destroy and conceal evidence of the murder of Victim-1.

Although RODRIGUEZ and the other MS-13 LGCS clique members traveled to and met
at the residence of the LGCS clique leader on March 8, 2019, the assault and murder of Victim-1,
and the transporting and burning of his body, carried on into March 9, 2019.

Federal Investigation of MS-13 and the Murder of Victim-1

For numerous years, federal law enforcement agencies including the Federal Bureau of
Investigation, and the Department of Homeland Security have investigated criminal activity of
MS-13 in the Washington, DC metropolitan area. These investigations have resulted in the federal
prosecution of numerous MS-13 members for violent crimes in the District of Maryland and
elsewhere. The federal investigation of the murder of Victim-1 began soon after the body of

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Victim-1 was discovered on March 9, 2019 in Stafford County, Virginia, and has continued until
the present. The federal investigation has included interviewing witnesses, gathering evidence,
and conducting forensic examinations of evidence, including evidence that RODRIGUEZ and his
co-conspirators attempted to destroy and conceal.

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